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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT O F N E W Y O R K



W I L L I A M I. K O C H , an individual,

                         Plaintiff,                         Case No. 07 CIV 9600 (BSJ) (DCF)
                                                            E C F Case
        v.

E R I C G R E E N B E R G , an individual, Z A C H Y S
W I N E & L I Q U O R S T O R E , I N C . a New York
corporation, and Z A C H Y S W I N E A U C T I O N S ,
INC., a New York corporation,

                         Defendants.




  DEFENDANT ERIC G R E E N B E R G ' S RESPONSE T O PLAINTIFF W I L L I A M I. K O C H ' S
    OBJECTIONS T O O R D E R OF M A G I S T R A T E J U D G E DENYING M O T I O N F O R
          E L I M I N A T I O N OF P R O T E C T I V E O R D E R IN ITS E N T I R E T Y


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        Defendant Eric Greenberg ("Greenberg") hereby submits this Response to Plaintiff

William I. Koch's ("Koch's") Objections to Order of Magistrate Judge Denying Motion for

Elimination of the Protective Order in its Entirety ("Objections" or "Obj.").

                                PRELIMINARY S T A T E M E N T

        The Court should overrule Koch's Objections in their entirety.          As Magistrate Judge

Freeman properly found, it is not appropriate to vacate the Protective Order, which the parties

agreed to almost two years ago and which parties and non-parties alike have relied on during the

intense discovery practice in the interim. The only issue before this Court is whether Judge

Freeman's decision not to eliminate the Protective Order was clearly erroneous or contrary to

law, and Koch has failed to demonstrate that it was. Koch's application regarding Greenberg's

specific confidentiality designations remains pending before Judge Freeman, and none of Koch's

complaints about specific documents discussed in his Objections are properly before this Court.

       Koch's Objections to the Protective Order are meritless as a matter of law. Koch objects

to certain provisions of the Protective Order, but Koch stipulated to all of those same provisions

more than a year before he filed the underlying motion. Koch proposes a procedure under which

a party would have to file a motion concerning each and every discovery document the party

wished to designate confidential, but no case that Koch cites or that Greenberg can find has ever

required such a procedure, contrary to Koch's assertions to this Court. Koch asserts that every

document produced in this case should be a matter of public record, but the Second Circuit has

held that such an approach is "unthinkable," and that documents exchanged in discovery "lie

entirely beyond the ... reach" of the presumption of public access.

       The Protective Order at issue here is in accord with well-established case law regarding

documents produced in discovery and motions related to discovery issues, and was properly

upheld by Judge Freeman. Moreover, neither that order nor any designation Greenberg has made




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under it -- which designations, as noted above, are currently before Judge Freeman for review -

have prevented K o c h from filing or opposing any motion or interfered with preparing this case

for trial. A s Judge Freeman certainly knew when she ruled on Koch's motion, K o c h never once

challenged Greenberg's designations using the mechanisms provided in the Protective Order

itself. Instead, K o c h moved to "eliminate" the Protective Order in its entirety, fourteen months

after it was entered. In doing so, Koch failed entirely to meet his heavy burden of showing that

the Protective Order was improvidently granted, or that some extraordinary circumstance or

compelling need required that it be vacated. Koch's motion was procedurally improper, legally

and factually unsound, and would have unfairly prejudiced the parties and non-parties who relied

on the Protective Order in producing documents and giving testimony.

        Koch's motion below, like his Objections here, was not motivated by any error in the

Protective Order, nor by any genuine or meritorious concern with Greenberg's confidentiality

designations.     Rather, Koch sought to retroactively immunize his own agents' flagrant and

                                                         1
unapologetic violations of the Protective Order, and to continue his longstanding practice of

publicly circulating and mischaracterizing confidential information obtained through this

litigation in order to attack Greenberg in the press and in other extra-judicial communications.

Judge Freeman was well within the standards o f judicial discretion when she properly denied

Koch's motion to eliminate the Protective Order, and her M a y 24 Order should be affirmed.




         Greenberg's Motion to Enforce the Protective Order and for Sanctions [Doc. No. 98] is currently pending
before Judge Freeman.




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                   !•      F A C T U A L AND P R O C E D U R A L B A C K G R O U N D

A.       Koch Stipulated To A Protective Order. And To All Of The Provisions He Now
         Challenges.

         On or about August 7, 2009, Koch, Greenberg, and Zachys (then a defendant to this

action) voluntarily agreed to most of the provisions reflected in the Protective Order, including

the provision requiring the parties to meet and confer regarding disputed designations and the

provision setting forth the procedure for challenging designations i f those meet and confer efforts

fail:

          Should any counsel for a party object to the designation of any
          information as Confidential Information or Confidential - Attorneys' Eyes
          Only Information, such counsel shall notify all other counsel of the
          objection. If notice of such an objection is received at any time, counsel
         for the parties shall promptly confer in an attempt to resolve the matter.
         . . . If the matter remains unresolved, objecting counsel may then apply to
          the Court for a determination      of whether the designation should be
          removed.     If no such application is made, the material shall remain as
          designated. Any information which has been produced and designated as
          Confidential Information or Confidential - Attorneys' Eyes Only
          Information, but which is subject to a dispute as to its proper designation,
          shall be treated as so designated pending resolution of the dispute.

Wessel Decl. Exh. C (emphasis added).

         The only provision in the Protective Order on which the parties could not agree was the

clause   defining "Confidential Information" and "Confidential -            Attorneys' Eyes   Only

Information." Koch and Greenberg each submitted proposed definitions to the Court. Id. at 1-2.

The Court inserted its own definition for "Confidential Information":

         [Tjrade secrets; proprietary, non-public and competitively sensitive
         information, such as customer lists and contracts; non-public financial
         information (whether personal or corporate); and personal identifying
         information.

Id. % 2. The Court also adopted Greenberg's proposed definition for "Confidential - Attorneys'

Eyes Only Information":       "[H]ighly sensitive 'Confidential Information,' that is reasonably




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    likely to interfere with a person's business or personal affairs i f seen by persons other than

    attorneys." Id.

           The parties' stipulation demonstrates that they (along with Zachys, which is no longer a

    party) recognized from the outset that a Protective Order is appropriate in this case. Greenberg is

    in the business of buying and selling wine, especially fine and rare wine. He owns a private

    company, Innovation Wines L L C , through which he transacts this business.                Declaration of

                                                                                                                   2
    Frank A . Cialone ("Cialone Deck") Exh. A (Greenberg Deck) at f 2 and E x h . A thereto.

    Accordingly, which wines Greenberg owns, how much he paid for them, where he purchased

    them, to whom he sold them, prices of sale, and his marketing and negotiating strategies are all

    non-public and competitively sensitive information with value to Greenberg's -                      or his

    competitors' - wine business. Id.

           Incredibly, Koch argues that Judge Freeman erred in not vacating the Protective Order

because "it is now clear that all this case is about is the buying and selling o f wine." Obj. at 15.

What else could this case have possibly been about, when Koch's entire lawsuit was about him

buying, and Greenberg selling, bottles of wine? This case has always been entirely about the

buying and selling of wine, and Koch, Greenberg, the Court, and everyone else knew that when

the case was filed, when the parties stipulated to the Protective Order, when Judge Freeman

signed the Protective Order, and when parties and non-parties alike produced confidential

information in reliance on the Protective Order. Koch cannot seriously contend that he only

recently realized that this lawsuit was about wine, or that his supposed realization required Judge

Freeman to vacate the Protective Order.

           Koch also claims that Greenberg has "overused" and "abused" the Protective Order based


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         Greenberg attaches his declaration from his Opposition to the underlying motion because he refers to it
frequently. The entire record of Greenberg's Opposition is being delivered to the Court.




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on the fact that Greenberg has designated as Confidential a large number of the documents he

has produced in this litigation. Koch's unproven accusations, however, did not compel Judge

Freeman to vacate the Protective Order as a matter of law, and this Court must therefore affirm

her decision not to do so. The number of designations, moreover, is simply a function of the

subject matter of this case:     The case is about Greenberg's wine business, so most of the

documents are related to Greenberg's (privately-owned) wine business, and the non-public

financial information of that business.   (The number of designations is also a function of the

extensive breadth of Koch's discovery efforts, which have included three sets o f document

demands to Greenberg, containing 63 separate demands, as well as document subpoenas to

numerous third parties - all to conduct discovery about 36 bottles that Koch bought at two

Zachys auctions.)

B.      Koch Moved To Eliminate The Protective Order Fourteen Months After He
        Stipulated To It.

        Despite stipulating to the Protective Order, K o c h sought to "eliminate" it by the

underlying motion - fourteen months after the Protective Order was entered. Koch brought his

motion in November 2010, after the parties had spent many months conducting intensive

discovery, during which the parties, including      Koch,   and non-parties alike relied on the

Protective Order by producing and designating documents in accordance with it. See Doc. No.

125 (Greenberg's underlying Opposition) at 6.       B y his motion, Koch expressly sought to

eliminate the Protective Order, to modify it, or in the alternative, to remove all o f Greenberg's

confidentiality designations.   [Doc. No. 119]. At that point, Koch had never made a single

application   to Judge Freeman    to remove any of Greenberg's      confidentiality   designations.

Koch simply ignored the terms of the Protective Order to which he had agreed.

        The timing of Koch's motion was not coincidental. In September 2010, Greenberg filed




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his still-pending Motion to Enforce the Protective Order and for Sanctions [Doc. No. 98], based

on Koch's repeated, willful, and unapologetic violations of the Protective Order. In that motion,

which Koch fails to mention, and in papers supplementing that motion, Greenberg demonstrated

that Koch and his agent, Brad Goldstein, who runs this litigation for Koch, intentionally violated

the Protective Order by circulating Confidential and Attorneys'                  Eyes Only documents to the

press and to the Federal Bureau of Investigation. Cialone Decl. Exh. B (Goldstein Depo.) at 7:4-

22 and 10:11-11:8. (Goldstein is not an attorney, and the fact that he received these documents

was evidence of yet another violation of the Protective Order, by Koch's counsel. See Doc. N o .

108.) Worse yet, Goldstein testified that Koch's company has an ongoing policy of sending

documents to law enforcement agencies, regardless of whether those documents ~ like the

documents here ~ are subject to protection by a Court order. Id. Exh. B at 7:4-22 and 10:11-

      3
11:8. In fact, Goldstein refused to admit that his transmittal of Attorneys' Eyes Only documents

to the F B I was a violation of the Protective Order.                Goldstein also sent the F B I an email

discussing the Attorneys' Eyes Only documents - and making false and defamatory statements

about Greenberg — conduct that constituted a further violation of the Protective Order, and

conduct that K o c h and Goldstein failed to disclose despite being ordered by Judge Freeman to

identify all disclosures by Goldstein of confidential documents or their contents. Id. Exh. B at

24:21-26:17. Koch sought to "eliminate" the Protective Order only after Greenberg sought to

hold Koch responsible for violating it.




          In the past, Koch has criticized Greenberg for citing Goldstein's testimony without noting Koch's contrary
testimony. Greenberg is happy to comply with Koch's demand: At deposition, when Koch was confronted with the
fact that Goldstein testified to the company policy referenced above, Koch stated that there was "absolutely no
policy of that nature." Cialone Decl, Exh. C at 283:19-285:5. Greenberg believes that Goldstein told the truth in
this instance. Goldstein's conduct supports that belief, and Goldstein had no reason to invent such a company policy
— while Koch had every reason to deny it. It is noteworthy, however, that Koch himself accuses a long-time
employee, whom he has trusted to run his wine-related lawsuits and investigation for six years, of testifying falsely
about company policy.




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C.        Koch's Motion Was Prejudicial To Third Parties, As Well As To Greenberg.

         Koch expressly styled his motion as one to "eliminate" the Protective Order, a remedy

that would obviously affect both parties and non-parties.                  Koch claimed, however, that non-

parties would be adequately protected ~ an assertion that he did not explain, and an assertion that

he contradicted with the further argument that non-parties did not need to be protected. Motion

at 13-14.

         In his Opposition to Koch's Motion, Greenberg pointed out, inter alia, that third parties

had relied on the Protective Order in producing documents.                    Doc. No. 125 at 6.        Koch then

suggested, in his Reply [Doc. N o . 129] at 2, that the Court could somehow grant his motion,

while allowing non-party confidentiality designations to stand (though without explaining what

would happen where both Greenberg and a non-party designated the same                                    document

Confidential, and without explaining how confidentiality designations by Zachys ~ which was a

party when Koch filed his motion but has since been dismissed - would be treated). Koch did

not cite any precedent for this notion of eliminating an order only as to parties (or one party), or

for precluding only Greenberg from relying on the Protective Order.

         Koch now appears to have reversed course again, and once again seeks, as the title of his

Objections shows, "elimination of the Protective Order in its entirety." Obj. at 1; see also Obj. at

                                                                       4
15 (arguing that "there is no need for a Protective Order.") Koch asserts that third parties "may




          Despite the title of his motion and of his Objections, and his argument that "there is no need for a
Protective Order" in this case at all, Koch also claims that he "did not ask that the Protective Order be voided as to
designations by non-parties." Obj. at 2. Koch has yet to explain how the Protective Order could be "eliminated in
its entirety" while still remaining in effect as to non-parties. Nor has Koch ever explained how he proposes to treat
designations by Zachys, which designated thousands of documents Confidential when it was a party to this case, but
which has since settled with Koch and been dismissed.

        Koch is apparently trying to have it both ways. He asked Judge Freeman to eliminate the Protective Order.
Greenberg pointed out the obvious prejudice this would cause non-parties, and Koch tried to dodge that argument by
mischaracterizing his own motion. These tactics, and the lack of clarity as to the relief Koch actually seeks,




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have" relied on the Protective Order in "rare instances." Obj. at 13. That assertion is false. A s

Koch certainly knows, Sotheby's designated hundreds of documents Confidential, including

documents identical to those that Greenberg designated Confidential.            See Doc. No. 125 at 6 &

Cialone Decl. Exh. D (Supplemental brief to Judge Freeman) at 6-9. Zachys, which was a party

but has since been dismissed, designated thousands of documents Confidential, including

documents that Zachys produced while it was a party and documents it produced after being

dismissed. Royal Wines and other third parties have also designated documents confidential.

Prior to filing his motion to eliminate the Protective Order, Koch never challenged any of these

designations     before   Judge    Freeman,      just as he never challenged any of Greenberg's

designations.

D.      Greenberg Did Not Violate the Protective Order.

        Koch initially argued that the Protective Order should be eliminated because Greenberg

supposedly violated it, by sending a single email to Frank Komorowski, a third party:

        Frank: I am in a deposition with Brad Goldstein. He attributes to you statements
        that Sotheby's rejected 1/3 of my cellar directly to you. This is not true and
        evidence in this case is on record supporting it. I cannot imagine someone of your
        impeccable reputation making those statements. Do you tell this to M r .
        Goldstein? Many thanks, Eric.

Obj. at 3-4. (Koch also states that Komorowski was a victim of counterfeit wine, but cites no

evidence — and there is none — that Komorowski ever bought any supposedly counterfeit wine

from Greenberg.) B y his email, Greenberg was simply confirming whether Komorowski made

the statement attributed to him by Goldstein — hardly a disclosure of confidential information.

Greenberg had no way to determine whether Komorowski made the statement other than asking

him.




provided sufficient grounds for Judge Freeman properly to deny Koch's motion.




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        Greenberg's   email to Komorowski was not a violation of the Protective Order.

Komorowski was already aware of the contents of Goldstein's testimony ( i f Goldstein in fact

testified truthfully about Komorowski's statements.)          The Protective Order i n this case

specifically provides that disclosure of information to the "author" of the information is not

prohibited by, and thus is not a violation of, the Protective Order:

       (f)    Exceptions. The limitations on disclosure contained in this Protective
       Order shall not apply to the disclosure of documents, or the contents thereof, to
       persons who were authors or addressees of those documents, or who actually
       received copies prior to the commencement of this lawsuit.

Wessel Deck, Exh. C f 4(f). Although the Protective Order speaks in terms o f "documents," it

must, logically speaking, apply to deposition testimony about an alleged statement by a third

party, as well. If, for example, Goldstein had testified at his deposition that a document allegedly

containing a statement about Greenberg was authored by Komorowski, Greenberg would

unquestionably be entitled to show the document to Komorowski and ask him whether he in fact

authored it. The same reasoning and rationale must necessarily apply to an oral statement; if not,

Greenberg could never turn to the alleged author of the oral statement to ask i f the statement had

ever been made.

       Although Koch claims that Greenberg repeatedly violated the Protective Order, he

identifies only the single communication with Komorowski, which is not a violation at all. Koch

also notes that Greenberg has attended depositions — something Greenberg is entitled to do (and

which Koch has done himself) and to which neither K o c h nor anyone else has ever objected --

but provides no evidence that Greenberg violated the Protective Order or communicated

confidential information to any third party in any such deposition.         Koch also notes that

Greenberg himself has spoken to the press about this case. Greenberg is obviously entitled to

talk to the press, and has done so here in order to respond to Koch's defamatory media




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    campaign, but Koch cites no evidence that Greenberg disclosed any confidential information to

    the press. Nor does Koch cite any authority for his novel proposition that a party to litigation

    who discloses non-confidential information somehow waives or loses the right to designate other

    information as confidential under a stipulated Protective Order.

    E.     Koch's Description of "Other Confidentiality Issues" is Misleading and Irrelevant.

           K o c h accuses Greenberg of trying to "scare and silence" witnesses. This is a dramatic

    but starkly unsubstantiated charge.         Greenberg sued William Edgerton (Greenberg's prior

    litigation consultant and Koch's prior expert witness in this case) because Edgerton violated his

    fiduciary obligations when he, among other things, disclosed hundreds of pages of Greenberg's

                                       5
    attorney work product to Koch.         Greenberg filed that lawsuit several months after Edgerton's

    deposition. Greenberg later withdrew the lawsuit, when it became apparent that Koch was using

    it as a pretext to de-designate Edgerton as a testifying expert after Edgerton's testimony at

    deposition badly damaged Koch's case.          Greenberg was entitled to assert his rights against a

litigation consultant who disclosed work product, but his assertion of those rights in no way

affected discovery in this case and is irrelevant to Koch's effort to eliminate the Protective Order.

Furthermore, while Greenberg has asserted his contractual rights in connection with the

unauthorized disclosure of his confidential information by former agents and business associates,

                                                                                                6
he has never used those contractual rights to interfere with discovery in this case.

           In contrast, Koch has played games with the Protective Order.                     Specifically, K o c h


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         Greenberg hired Edgerton as a litigation consultant to advise him in Greenberg's dispute with Royal, so
communications with Edgerton were attorney-client privileged and work product, which Edgerton has known at all
times. Edgerton knowingly provided confidential information and privileged communications to Koch in breach of
his obligations to Greenberg. However, Greenberg has determined that being able to present to the jury in this case
Edgerton's testimony — which is directly related to the validity of Koch's claims — outweighs the harm to
Greenberg from Edgerton's wrongful conduct.

6
        In his Opposition to Koch's Motion [Doc. No. 125, at 18-19], Greenberg explained other instances in
which he has protected his rights, which Koch did not raise in his Objections but may improperly raise in his Reply.




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    asserted that the confidentiality provision in his settlement agreement with Zachys allowed him

    to refuse to disclose that document in full even to Greenberg and even to Greenberg's        attorneys.

    (In other words, Koch claimed the unilateral right, not to produce a document and designate it

    "Confidential" or "Attorneys Eyes Only," but to refuse to produce           it at all because it was

    supposedly confidential.) When Zachys later produced the entire Settlement Agreement, but

    designated it Confidential, Koch's ruse became apparent:        he wanted to keep the Agreement

    from becoming public, but could not designate the document Confidential himself without

jeopardizing his position on the instant Objection. See Cialone Decl. Exh. E (March 21, 2011

    Letter from Frank A . Cialone to the Hon. Debra Freeman).

    F.     Koch's Complaints About Greenberg's Designations Are Before Judge Freeman.

           In the M a y 24 Order, Judge Freeman ordered the parties to submit supplemental briefing

regarding a "representative sample" of Greenberg's purportedly improper designations.                 That

briefing is now complete and, like Koch, Greenberg submits herewith a copy o f his supplemental

                                   7
brief. Cialone Decl. E x h . D .       If Koch's complaints have any merit, Judge Freeman is well-

situated to provide the parties appropriate guidance and to order de-designations where

appropriate, as contemplated by the stipulated terms of the Protective Order.

                                          II.    ARGUMENT

A.         Standard of Review

           Koch brings his Objections under Rule 72(a), which provides that "The district judge in

the case must consider timely objections and modify or set aside any part o f the order that is

clearly erroneous or is contrary to law." Fed. R. Civ. Proc. 72(a) (emphasis added). See also

Alvarado     v. City of New York, 2009 W L 510813, at *1 (E.D.N.Y. Feb. 27. 2009) ("discovery



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        Greenberg will separately submit the Declaration and voluminous exhibits thereto in support of that
supplemental brief.




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matters, including issuance and application of protective orders, are non-dispositive decisions

governed by Federal Rule of C i v i l Procedure 7 2 ( a ) . . . the magistrate judge's findings should not

be rejected merely because the court would have decided the matter differently") (internal

quotations and citations omitted). Discovery disputes such as the instant matter are "entrusted to

the sound discretion" of the Magistrate Judge. E.g., Arista Records LLC v. Lime Group LLC,

2010 U . S . Dist. L E X I S 123603, at *7-8 (S.D.N.Y. Nov. 18, 2010) ("Courts in this Circuit have

held that a magistrate's ruling on a discovery dispute should only be overturned for an abuse of

discretion") (citations omitted). Deference to the Magistrate's discovery rulings is particularly

appropriate where, as here, the Magistrate has presided over the case for an extended period of

time and addressed numerous non-dispositive matters. See Grand River Enters. Six Nations, Ltd.

v. King,   2008 U.S. Dist. L E X I S 81603, at *5 (S.D.N.Y. Oct. 4, 2008) ("Magistrate judges

receive substantial deference, particularly where they have been deeply involved in discovery

matters in the case for years.") (internal citation omitted).

B.      Koch Has Not Demonstrated That the Protective Order Should be Vacated.

        K o c h fails entirely to meet his burden of showing that Judge Freeman's M a y 24 Order

was clearly erroneous or contrary to law. Indeed, Judge Freeman could properly have denied the

motion on procedural grounds alone, under Local Rule 37.2. Doc. No. 125 at 8. But Judge

Freeman had ample substantive grounds on which to deny Koch's motion as well.

       A party seeking to vacate (or, as here, "eliminate") a protective order bears an extremely

heavy burden, one that Koch failed to meet below.               The party must make "a showing of

improvidence in the grant o f [the order] or some extraordinary circumstance or compelling

need." Martindell     v. International   Tel. & Tel. Corp., 594 F.2d 291, 296 (2d Cir. 1979). See also

In re September     11 Litig, 262 F . R . D . 274 (S.D.N.Y. 2009) (same). In Martindell,   the appellate

court upheld the district court's denial o f a motion by the government (who was not party to the




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    case) to vacate a previously-entered protective order so that it could use discovery from the civil

    case as part o f a pending criminal investigation. The court reasoned that in the absence of the

    showing set forth above, an individual who produces documents or gives testimony believing

    they will be protected by a protective order in place at the time should be entitled to rely on the

    its continued enforceability. The court explained:

           [T]he vital function of a protective order issued under Rule 26(c) . . . is to
           'secure the just, speedy, and inexpensive determination' of civil disputes .
           . . by encouraging full disclosure o f all evidence that might conceivably be
           relevant. This objective represents the cornerstone of our administration
           of civil justice. Unless a valid Rule 26(c) protective order is to be fully
           and fairly enforceable, witnesses relying upon such orders w i l l be
           inhibited from giving essential testimony in civil litigation, thus
           undermining a procedural system that has been successfully developed
           over the years for disposition of civil differences.

Id. at 295 (internal citations omitted).

           The holding in Martindell conclusively refutes Koch's claim that "at the end of a case . . .

                                                                                     8
the decision to have a Protective Order should be revisited." Obj. at 15. Indeed, Koch's claim

rums the law on its head:         Rather than knowing that protective orders are "fully and fairly

enforceable" and being able to rely upon the court's order, witnesses would know that every

protective order was subject to being "revisited."              Koch's argument would undermine the

procedural system to which Martindell          refers, and Koch's argument is contrary to controlling

law.     A n d practically, Koch's argument makes no sense: routinely vacating protective orders

after parties and non-parties relied on them for years would be incredibly disruptive to the

discovery process. N o w that the parties and third parties have relied on the Protective Order, and

designated thousands of documents under its terms that they would not have produced                       absent

the Protective    Order, it would be deeply unfair - and contrary to law — to eliminate the order.


8
          As noted above, Koch's further argument, that such "revisiting" is warranted here because Koch only now
realizes that his lawsuit is about the buying and selling of wine, is absurd. Supra, at 4.




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          Judge Freeman correctly found that Koch did not meet his heavy burden, and Koch fails

to show that decision was clearly erroneous.               Koch — a person who has initiated and been

involved in numerous lawsuits and has been represented by three prominent law firms in this

matter - stipulated to entry o f the Protective Order in 2009, including all o f the provisions to

which he now objects, and K o c h therefore cannot possibly show that there was "improvidence in

the grant" of that order. Similarly, Koch fails to show that Judge Freeman was clearly erroneous

in not finding any "extraordinary circumstance" or "compelling need" for overturning the

Protective Order. The Protective Order should remain in place, and the Court should allow

Judge Freeman to evaluate Greenberg's confidentiality designations in accordance with the

                                                 9
procedure set forth in her M a y 24 Order.

C.       The Protective Order Conforms To The Law.

         Koch argues that the Protective Order, and Judge Freeman's May 24 Order, wrongly

allocate the burden of proof, shield "judicial documents" from public view, and unworkably

impose two tiers of confidentiality designations. None o f these arguments is persuasive, and the

Protective Order -- and the M a y 24 Order upholding it ~ are proper under controlling case law.

K o c h has not shown that the M a y 24 Order is contrary to law.

         1.       The Protective Order and Judge Freeman's May 24 Order properly allocate
                  the burden on proof.

         Koch argues that the Protective Order is contrary to law, because he claims that the

procedure for challenging designations ~ a procedure to which he stipulated - improperly




         As discussed below, the May 24 Order correctly leaves with Greenberg the burden of proving that
confidentiality designations are appropriate. Koch's objection to that portion of the May 24 Order, moreover, is not
properly before this Court. The briefing called for by Judge Freeman is now complete, but Judge Freeman has not
made any ruling. If Koch objects to being ordered to identify specific designations he claims were improper and
explain his claims, that objection is moot because he has already submitted his supplemental briefing. If Koch
objects to what he (incorrectly) believes to be a misallocation of the burden of proof, that objection must await a
decision by Judge Freeman as to the actual designations at issue.




                                                      . 14.
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allocates the burden of challenging designations to the non-designating party.       But the cases

Koch cites speak only to the burden of persuasion,    not the burden o f initiating a challenge. The

Protective Order leaves the burden of persuasion exactly where those cases say it should be: On

the party or third party who designates a document as Confidential. The Protective Order merely

requires that the party who challenges confidentiality initiate the meet and confer process and,

eventually, file the opening and reply memoranda. That procedure does not change the burden

of persuasion; i f anything, it gives the party challenging a designation the advantage of having

two chances to brief the issue.

       Similarly, Judge Freeman's M a y 24 Order requiring supplemental briefing does not

invert the burden of proof: Greenberg still had the obligation to justify each of his designations.

Koch merely had the burden to identify supposedly improper designations, and once again he

received the benefit of two rounds o f briefing. Greenberg has never argued that Koch has the

burden of proof to show that a confidentiality designation is improper, and Judge Freeman has

never imposed that burden on Koch.

       K o c h also misrepresents the cases he relies upon by asserting that they require the party

claiming confidentiality to file a motion and make an affirmative showing before making a

designation. That is not the law, and Judge Freeman's refusal to require that process was correct.

In this case, as in many cases where confidentiality orders are issued, the core issues as to which

most discovery relates concern the sensitive business and personal information that the parties

want and are entitled to keep confidential. This case is about the fine wine business. Greenberg

is in that business.   Cialone Decl. E x h . A (Greenberg Decl.) at f 2 and Exh. A thereto.

Accordingly, he has thousands of documents containing non-public commercial information that

have been produced or may be produced in this litigation. Id. Under Koch's proposed scheme,




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Greenberg would have to bring a motion, and the Court would have to adjudicate that motion,

with respect to every such document produced. This would be entirely unworkable, as Judge

Freeman recognized. Had Koch proposed that cumbersome procedure back in 2009, when the

parties were negotiating the terms of their Stipulation to the Protective Order, Greenberg would

not have agreed to it, and it is extremely unlikely that the Court would have imposed it.

        2.      Documents exchanged in discovery are not "judicial documents."

        The provisions of the Protective Order that allow for unilateral confidentiality

designations and the filing under seal of discovery-related motions ~ provisions to which, once

again, Koch stipulated ~ are not contrary to law. In fact, the very authority on which Koch

purports to rely rejects his proposed system of requiring briefing and motion practice every time

a party or non-party is asked to produce a confidential document, and undermines the basis of his

demand to make every detail of this litigation public.       Koch cites United States v.         Amodeo

(Amodeo II), 71 F.3d 1044, 1048-49 (2d Cir. 1995) in support of his request to make all

documents produced in discovery publicly available, but the Amodeo court — Koch's central

authority — expressly rejected such a scheme, using language that applies exactly to what Koch

is trying to do in this case:

                Unlimited access to every item turned up in the course of litigation
        would be unthinkable.   Reputations would be impaired, personal    relationships
        ruined, and businesses destroyed on the basis of misleading or downright false
        information....

               . . . Moreover, a court can strike a pleading as scurrilous under Federal
        Rule of C i v i l Procedure 12(f) whereas it is powerless to discredit every statement
        or document turned up in the course of litigation.

        *       *       *

               Where testimony or documents play only a negligible role in the
        performance o f Article III duties, the weight of the presumption [in favor o f
        public access] is low and amounts to little more than a prediction of public access
        absent a countervailing reason. Documents that play no role in the performance




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           of Article III functions, such as those passed between the parties in discovery,
           lie entirely beyond the presumption's    reach, and stand on a different footing than
           . . . a motion filed by a party seeking action by the c o u r t . . . .

Id. at 1048-50 (internal citations omitted) (emphasis added).        Amodeo    II states only the well-

established principle (which Greenberg does not dispute) that a party seeking to file "judicial

documents" under seal bears the burden of establishing that the documents are confidential;

indeed, the Amodeo II court expressly limited the presumption o f public access to documents

filed with the court in support of a request for court action. Id. A n d Koch cites Lugosch,       which

expressly limited its holding to motions for summary judgment — i.e., determinations on the

merits which adjudicate the parties' substantive rights — which neither party in this case has

filed.    See Lugosch v. Pyramid Co., 435 F.3d 110, 126 (2d Cir. 2006) ("We hold that documents

submitted to a court in support of or in opposition         to a motion for summary judgment         are

judicial documents to which a presumption of immediate public access attaches under both the

common law and the First Amendment.") (emphasis added).

           The other cases that Koch cites fail to support his position for the same reasons. See, e.g.,

Diversified    Group, Inc. v. Daugerdas,     217 F.R.D. 152, 159 ( S . D . N . Y . 2003) (quoting United

States v. Graham, 257 F.3d 143, 151 &163 (2d Cir. 2001)) ('"Conversely, the presumption of

access to documents that do not serve as the basis for a substantive determination-such as

documents submitted on a motion for summary judgment which is denied, thus leaving a

decision on the merits for another day-is appreciably weaker.'"). Koch has failed to show that

Judge Freeman's Order refusing to vacate the Protective Order was clearly erroneous or contrary

to law.

          3.      Two-Tiered Protective Orders Are Commonplace and Appropriate.

          A two-tiered Protective Order is not contrary to the law. Rather, the decision to issue

such an order is entirely within the Magistrate's discretion.         K o c h cannot show that Judge




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Freeman abused that discretion in instituting a two-tiered order (which the parties, of course,

requested).     K o c h cites Unico American   Corp. v. Crusader   Captive Services,   LLC, 2006 W L

2355524, at *2 (N.D. 111. 2006), for the proposition that two-tier protective orders that allow for

A E O designations are improper.        Unico, o f course, had already been decided when Koch

stipulated to the current two-tier protective order. Moreover, Unico was decided on its unique

facts and the particular experience of that District Judge, and does not broadly condemn two-tier

protective orders. Such orders are routinely entered by courts. See, e.g., Tailored Lighting, Inc.

v. Osram Sylvania Prods., Inc., 236 F.R.D. 146 ( W . D . N . Y . 2006) (entering two-tiered order);

Boss Mfg. Co. v. Hugo Boss AG , 1999 W L 33431 (S.D.N.Y. Jan. 26, 1999) (evaluating two-

tiered protective order). The instant case is distinguishable from Unico, moreover, in that there

was no evidence in Unico that the parties would intentionally send confidential documents to the

press and the F B I in violation of the protective order i f disclosure were not limited to counsel.

Here, Koch and Goldstein have demonstrated the need for an A E O tier in the Protective Order.

        Koch argues that the A E O tier prejudices him because it prevents him from assisting his

counsel.      First, Greenberg's A E O designations have never stopped Koch's attorneys from

making any argument to this Court or to Judge Freeman. Nor has it stopped them from using

those documents to prepare Koch's case. Greenberg's few A E O designations do not prejudice

Koch, moreover, because by his own admission K o c h leaves litigation decisions to his counsel.

See Cialone Decl. Exh. C (Koch Depo.) at 297:3-5 ("My lawyers, as you know, like to run

lawsuits. They don't like the clients to run them."). A n d as Koch's agents have proven, an A E O

tier is necessary in this case.

D.      Eliminating the Protective Order Would Prejudice Non-Parties

        The relief K o c h sought in his Motion, or the different relief he sought in his Reply, would

prejudice third parties. Koch variously asked Judge Freeman to "eliminate" the Protective Order




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entirely, and modify it so it applies to everyone except for Greenberg; it is entirely unclear which

relief he is asking the Court for here.     See supra at 7 and n.4.    But either variation would

prejudice the non-parties who have produced confidential documents.

        Non-parties have, in fact, produced thousands of pages of Confidential documents in this

case. Those non-parties did not have notice of Koch's Motion or of these Objections, and their

interests are not represented here. Should the Court vacate, or "eliminate," the Protective Order,

then those non-parties will be prejudiced, without ever having been heard. Moreover, even i f the

Order is modified so that it applies to everyone but Greenberg, non-parties will be prejudiced. In

many instances, Greenberg and third parties have produced and designated as Confidential the

very same documents.      (Some o f these instances are detailed in Greenberg's accompanying

supplemental brief.) Modifying the Protective Order to deny only Greenberg its protections

would result in all such documents becoming public, despite third parties' confidentiality

designations, merely because Greenberg had produced the same documents.           Such a result is

unprecedented, and unfair.

        Koch cites a string of cases to argue that these third parties' reliance was somehow

unreasonable or unwarranted, but the cases do not support his conclusion. The temporary

protective order in place in Schiller   v. City of New York, unlike the carefully crafted Order at

issue here, did not "delineate the kinds of documents[] contemplated for protection"; rather, it

allowed any party to designate any document. 2007 W L 136149, at *5 (S.D.N.Y. 2007) (internal

quotation omitted). Similarly, the protective order discussed in SEC v. TheStreet.com,    273 F.3d

222, 231 (2d Cir. 2001), applied only to pre-trial proceedings, while the Protective Order in this

case expressly applies to the end of this litigation and beyond.      Wessel Decl. Exh. C at 10

(parties must return confidential documents at conclusion o f litigation), 12 (obligations of




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Protective Order "survive the termination o f this action" and "this Court shall retain jurisdiction"

to enforce the Protective Order). A n d in all o f Koch's cited cases, parties or third parties could

apply for de-designation of certain documents, but the producing party would have notice and a

chance to be heard.    Here, in contrast, third parties are not parties to the instant Objection (nor

were they parties to the underlying motion) and they have not had neither notice nor an

opportunity to be heard.

E.     Greenberg's Designations are Not Before This Court, and are Proper.

       Koch's discussion of designations he deems improper does not in any way support his

Objection. The issue of whether any of Greenberg's designations were improper is before Judge

Freeman, and those designations are discussed in detail in the June 17 supplemental briefing.

While Koch may argue that certain designations are improper, K o c h cannot show that Judge

Freeman's decision not to vacate the entire Protective Order on the basis of those arguments was

clearly erroneous or contrary to law. K o c h does not cite any case that holds that a party's

allegedly improper designations of some documents under a protective order require a court to

vacate, or "eliminate," that order.

       That said, the designations Koch complains about are proper. Pursuant to the provisions

of the Protective Order, Greenberg has designated many of the documents he has produced in

this action as Confidential, because they contain non-public information that is valuable to his

wine business - including vendor information, customer information, inventory information,

pricing information and information about negotiating strategies, marketing strategies and

auction strategies - as well as other commercially and competitively sensitive information.

Greenberg has also designated as Confidential documents containing information about his

companies' finances, his personal finances or other personal information. Cialone Decl. Exh. A

(Greenberg Decl.) at fflf 2-5. Koch's lawyers, of course, have had full access to this information.




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Greenberg provides a detailed defense of his confidentiality designations in his attached

                                                                              1 0
Supplemental Brief to Judge Freeman. See Cialone Decl. Exh. D .

         Koch principally objects to Greenberg's designations o f documents relating to his dispute

and settlement with Royal Wine Merchants ("Royal"), including documents submitted to

Fireman's Fund Insurance Company as part of a confidential insurance claim by Greenberg

regarding the bottles of wine at issue in the Royal dispute ("Fireman's Fund documents"). See

Cialone Decl. Exh. A (Greenberg Decl.) at f 7. In addition to containing lists o f Greenberg's

wine, the prices he paid for them and other very personal information (such as the value of

Greenberg's home), the Fireman's Fund documents, and all other documents relating to the

Royal dispute, are also confidential under the express terms of Greenberg's settlement agreement

with Royal, which requires the parties to keep such information confidential. Id. Jeff Sokolin

(Royal's owner) testified at deposition that he expected Greenberg to keep confidential the entire

dispute. Cialone Deck, E x h . F (Sokolin Depo.) at 177:21-180:22. O f course, Koch's lawyers

have seen this information. Greenberg's designations are therefore also consistent with his

contractual obligation.

         Koch argues that Greenberg waived his right to designate these documents by submitting

them to third parties.        However, Greenberg submitted these documents to his insurance

companies to obtain coverage, in their capacity as Greenberg's fiduciaries (not, as Koch puts it,

"adverse parties.)" A disclosure in that kind of a confidential relationship does not waive the

confidentiality of the underlying documents.            Greenberg also communicated with Royal, an




         Koch argues that some of Greenberg's documents are from several years ago, and therefore not properly
Confidential. Koch does not cite any authority for the notion that non-public financial information, which is
expressly protected by the Protective Order, cannot be deemed confidential after it reaches a certain age. Indeed,
both Sotheby's and Zachys designated many similarly old documents (including, in many instances, many of the
same documents) confidential, a fact indicating that people engaged in the business of buying and selling fine and
rare wine consider such information confidential, even if a few years have passed.




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adverse party, but those communications were part of confidential settlement discussions, were

subject to the confidentiality provision o f Greenberg's eventual settlement with Royal, and in

any event only gave Royal information that it already had: The specific wines Greenberg had

purchased from Royal, and the amounts he had paid for them.              Greenberg did not waive

confidentiality by sharing information with fiduciaries, with people who were obligated to keep

that information confidential, or with people who already had that information.

F.     Greenberg is Concerned With Koch's Actions, Not The Press's

       Greenberg shares Koch's respect for the role of the press in our society. But the courts

have consistently held that the press has little, i f any, legitimate interest in documents exchanged

in discovery.   See supra at 14-16. Cases should be tried in court, not in the press. Moreover,

Koch cites no authority for his sweeping assertion that Greenberg's contact with the press, about

matters related and unrelated to this lawsuit, somehow waives Greenberg's rights under the

Confidentiality order. Once again, Koch's arguments fail to establish that the M a y 24 Order

below was incorrect in any way, and fail to support his Objections.

                                         CONCLUSION

       The only issue before this Court is whether the facts or law compel elimination of the

Protective Order. They do not. Judge Freeman rightly rejected the "unthinkable" consequences

of such a ruling.   A n d contrary to Koch's unsupported assertions, the Protective Order remains

as important now as it was on the day it was issued ~ it protects Greenberg's and third parties'

confidential and sensitive business and financial information from unwarranted, unnecessary,

and harmful disclosure. Koch's own misconduct demonstrates why this protection is needed,

and Koch cannot demonstrate that Judge Freeman's Order was clearly erroneous or contrary to

law. For the foregoing reasons, Koch's Objection should be overruled in its entirety, and Judge

Freeman's M a y 24 Order should be affirmed.




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Dated: San Francisco, C A             By:
       July 1,2011

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                                  CERTIFICATE OF SERVICE



                M E L I N D A II. W A T E R H O U S E , hereby affirms, under penalty of perjury, that I

am an attorney admitted to practice in the courts of the State of New York and that on this 1st

day of July, 2011, I served a copy of the foregoing Defendant Eric Greenberg's Response to

Plaintiff William I. Koch's Objections to Order of Magistrate Judge Denying Motion for

Elimination of Protective Order in its Entirety and the Declaration of Frank A . Cialone in

Support of Defendant Eric Greenberg's Response to Plaintiff William I. Koch's Objections to

Order of Magistrate Judge Denying Motion for Elimination of Protective Order in its Entirety,

including all exhibits (A to F), by Electronic Mail on counsel of record, at the following

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